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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 23-md-03076-KMM/EIS

   In RE:

   FTX CRYPTOCURRENCY EXCHANGE
   COLLAPSE LITIGATION
   ________________________________________/

                          ORDER ON JURISDICTIONAL DISCOVERY MOTIONS

            On January 17, 2024, this Court held a discovery hearing at which eight discovery motions

   (ECF Nos. 446-450, 455, 458, 471) were addressed. The discovery disputes addressed in those

   motions and at the hearing concerned the limited jurisdictional discovery that was authorized by

   Judge Moore in his December 18, 2023 Order (ECF No. 422). The Court announced its rulings

   on the record of the hearing together with the supporting reasoning. This Order is entered to

   memorialize those rulings on the docket.

            1.     Specially Appearing Defendant Erika Kullberg’s Motion for Protective Order (ECF

   No. 446) is DENIED, except that discovery related to service of process shall be limited to

   discovery addressing whether service of process was properly effected on Erika Kullberg at 40

   Waterside Plaza, Apt. 11D, New York, New York on April 6, 2023. No discovery is permitted

   concerning how or where process can properly be served on Ms. Kullberg in the future.

            2.     The Plaintiffs’ Motion to Compel Expedited Discovery from Defendants Erika

   Kullberg, Brian Jung, and Creators Agency LLC (ECF No. 448) and the Plaintiffs’ Motion to

   Compel Expedited Discovery from Defendant Jaspreet Singh (ECF No. 449) are GRANTED IN

   PART and DENIED IN PART. 1 Defendants Erika Kullberg, Creators Agency LLC, and Jaspreet


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    During the January 17 hearing, Plaintiffs announced that they had settled with Defendant Brian
   Jung and that the discovery issues involving him were resolved. Accordingly, the motion to
   compel as to Defendant Brian Jung is DENIED AS MOOT.
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   Singh shall each produce to Plaintiffs (a) any agreements that each has with FTX, any of FTX’s

   affiliated entities, or anyone acting on behalf of FTX or FTX’s affiliated entities, and (b) any

   agreements or communications that address the targeting of Florida. In addition, Defendants Erika

   Kullberg, Creators Agency LLC, and Jaspreet Singh shall each submit to a deposition addressing

   personal jurisdiction on or before February 1, 2024.

          3.      Defendant Erika Kullberg’s Motion to Quash Nonparty Subpoena (ECF No. 458)

   is DENIED. However, the deposition of Arzu Malik shall be conducted by zoom, shall be limited

   to 2 hours, and shall be addressed to the events of April 6, 2023.

          4.      The Plaintiffs’ Motion to Compel and Expedite Discovery as to Temasek in

   Accordance with the District Court’s December 18, 2023 Order (ECF No. 455) is GRANTED IN

   PART and DENIED IN PART. Temasek Holdings (Private) Limited and Temasek International

   USA LLC shall each answer Plaintiffs’ interrogatories as they relate to it and provide Plaintiffs

   with its organizational structure, and each shall produce any contracts and agreements that it has

   with FTX or any of FTX’s affiliated entities. In addition, on or before February 1, 2024, Temasek

   Holdings (Private) Limited and Temasek International USA LLC shall each submit to a 4-hour

   zoom deposition by Plaintiffs addressing issues of personal jurisdiction, including those merits-

   intertwined factual disputes identified in Judge Moore’s December 18, 2023 Order (ECF No. 422

   at 4) concerning each’s contacts with the forum state and the corporate separateness between the

   Temasek entities.

          5.      Defendants Deltec Bank and Trust Company Limited and Jean Chalopin’s Motion

   to Quash Jurisdictional Discovery or for a Protective Order (ECF No. 471) is DENIED.

          6.      The Plaintiffs’ Motion to Compel and Expedite Discovery in Accordance with the

   District Court’s December 18, 2023 Order (ECF No. 447) is GRANTED IN PART and DENIED

   IN PART. Defendants Deltec Bank and Trust Company and Jean Chalopin shall produce to


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   Plaintiffs documents evincing Deltec Bank and Trust Company Limited’s banking license and

   corporate structure, as well as any contracts and agreements that Deltec Bank and Trust Company

   Limited, other Deltec entities, or Jean Chalopin had with FTX, Alameda, and their related

   companies. In addition, Deltec Bank and Trust Company shall submit to a 4-hour zoom deposition

   by Plaintiffs, and Jean Chalopin shall submit to an additional 3-hour zoom deposition, unless Mr.

   Chalopin serves as the corporate representative for Deltec Bank and Trust Company and the two

   depositions are consolidated. The Court, however, also grants Deltec Bank and Trust Company’s

   ore tenus motion for protective order: Plaintiffs shall not inquire during the depositions about

   Deltec Bank and Trust Company’s customers or customer information, except that Plaintiffs may

   ask about any contracts and agreements between FTX, Alameda, and/or their related entities and

   either Deltec Bank and Trust Company, Jean Chalopin, or other Deltec entities.

          7.     The Plaintiffs’ Motion to Compel and Expedite Discovery as to Sino Global in

   Accordance with the District Court’s December 18, 2023 Order (ECF No. 450) is GRANTED IN

   PART and DENIED IN PART. Sino Global Capital Holdings, LLC shall produce any contracts

   between Sino Global Capital Holdings, LLC and its subsidiaries and related entities (including

   Sino Global Capital Limited) and FTX, FTX-related entities, and Alameda. In addition, Sino

   Global Capital Holdings, LLC shall submit to a 4-hour deposition on personal jurisdiction,

   including those merits-intertwined factual disputes identified in Judge Moore’s December 18,

   2023 Order (ECF No. 422 at 4) concerning whether Plaintiffs’ allegations of civil conspiracy

   concerning Sino Global Capital may be imputed to Sino Global Capital Holdings LLC.

          DONE AND ORDERED in chambers in Miami, Florida, this 19th day of January 2024.


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                                               EDUARDO I. SANCHEZ
                                               UNITED STATES MAGISTRATE JUDGE
   cc:    Hon. K. Michael Moore
          Counsel of Record
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